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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )            8:07CR392
                     Plaintiff,                    )
                                                   )
       vs.                                         )              ORDER
                                                   )
LAURO MARQUEZ,                                     )
                                                   )
                     Defendant.                    )
       This matter is before the court on the motion by defendant Lauro Marquez
(Marquez) to file pretrial motions out of time (Filing No. 55). Marquez’s counsel was
recently appointed in this matter. Upon consideration, the motion will be granted.


       IT IS ORDERED:
       Defendant Marquez’s motion for an extension of time (Filing No. 55) is granted.
Marquez is given until on or before June 30, 2008, in which to file pretrial motions. The
ends of justice have been served by granting such motion and outweigh the interests of the
public and the defendant in a speedy trial. The additional time arising as a result of the
granting of the motion, i.e., the time between June 19, 2008 and June 30, 2008, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act for the reason defendant's counsel requires additional time to adequately prepare
the case, taking into consideration due diligence of counsel, and the novelty and complexity
of this case. The failure to grant additional time might result in a miscarriage of justice. 18
U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 19th day of June, 2008.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
